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READ INSTRUCTIONS ON BACK OF LAST PAGE BEFORE COMPLETING
TRANSCRIPT ORDER
District Court Docket Number ‘
USOC EDLA | ; \2- CV- O1T7B
Short Case Title ( | nnd Ni 0 YA i_\sS. Yay (a OF Court Reporter /
Date Notice of Appeal Filed by Clerk of District Court Court of Appeals #
{E Available} m
f PART L. (To be completed by party ordering transcript. Do not complete this form unless financial arrangements have been made.) > 2 ‘
—, i
A, Complete one of the following: ro! Bo.
oO No hearings = aa
sa: ae apn
Transcript is unnecessary for appeal purpases oe i mar
[| Transcript is already on file In Clerk's office an ~ _ Sar
CI This is to order a transcript of the following proceedings: (check appropriate box) Qo 3 Ace ”
Voir dire[_]; Opening statement of plaint#f [|]; defendant [_]; * t = BS
Closing argument of plaintiff L]: defendant (J; Opinicn of court Ey: ih ™~ =
Jury instructions Ci; Sentencing |; Bail hearing C4 Fi = wn =
HEARING DATE(S) PROCEEDING JUDGEIMAGI “ LD _
FAILURE TO SPECIFY IN ADEQUATE DETAIL THOSE PROCEEDINGS TO BE TRANSCRIBED, OR FAILURE
TQ MAKE PROMPT SATISFACTORY FINANCIAL ARRANGEMENTS FOR TRANSCRIPT, ARE GROUNDS FOR
DISMISSAL OF THE APPEAL.
method of payment will be:
[| Private funds;

 

B. This Is te certify that satisfactory financial arrangements have been completed with the court reporter for payment of the cost of the transcript. The
P| Other IFP Funds;
Other

1 criminat Justice Act Funds (Attach copy of CJA Form 24 to court reporter's copy};
S C] Advance Payment waived by reporter;

 

 

 

 

 

 

 

 

 

 

 

 

ry U.S. Government Funds;
BOSCO :
Signature Date Transcript Ordered” A 30/|3
Print Name . YS Counsel for :
Address \ b : Phone Number .
We i T TF E TO PROCEED IN FORMA PAUPERIS IN A CIVIL APPEAL
DOES NOT ENTITLE THE LITIGANT TO HAVE TRANSCRIPT AT GOVERNMENT EXPENSE. )
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(~~ PART IT COURT REPORTER ACKNOWLEDGEMENT (To be completed by the Court Reporter and forwarded to the Court of Appeais within 7 days after
receipt. Read instrection on reverse side of copy 4 before completing.}
Date transcript order F arrangements are not yet made, date contact made with Estimated completion jEstimated number
received ardering party re: financial arrangements date * of pages
[_] Satisfactory Arrangements for payment were made on
{] Arrangements for payment have not been made. Reason: [7] Deposk not received — [_] Unable to
contact ordering party fF] Other (Specify)
Date Signature of Court Reporter Telephone
Address of Court Reporter:

 

 

* Bo not include an estimated completion date unless satisfactory financial arrangements have been made or watved,

 

 

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PART IL. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To completed by court reporter on date of filing transcript
In District Court and notification must be forwarded te Court of Appeals on the same date.)

This is to certify that the transcript has been completed and filed with the District Court today.

 

 

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